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   13
                                        UNITED STATES DISTRICT COURT
   14
                             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15

   16    JENNY LISETTE FLORES, et al.,             )    Case CV 85-4544 DMG-AGRx
                                                   )
   17
                          Plaintiffs,              )   CORRECTED POINTS AND
   18                                              )   AUTHORITIES IN SUPPORT OF
                 - vs -                            )   MOTION TO ENFORCE
   19                                              )   SETTLEMENT AGREEMENT
   20    WILLIAM BARR, ATTORNEY                    )   [REDACTED VERSION TO BE FILED
         GENERAL                                   )   UNDER SEAL]
   21    OF THE UNITED STATES, et al.,             )
   22
                                                   )
                          Defendants.              )    [HON. DOLLY M. GEE]
   23                                          _
   24

   25

   26

   27

   28
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    24

    25

    26

    27

    28                                         ii
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        I.     INTRODUCTION
   2
              On January 28, 1997, this Comi approved a class-,vide settlement of this
   3
        case setting minimum national standards for the detention, treatment, and
   4

   5    prompt release of accompanied and unaccompanied minors detained by federal
   6    immigration authorities. Flores Settlement Agreement [Doc. # 101]
   7
        ("Settlement").
   8

   9
              The Settlement requires that Defendants make and record prompt and

   10   continuous efforts aimed at the release of class members to sponsors identified
   11
                                       ,r
        in the Settlement. Settlement 14. If prompt release is not possible, Defendants
   12
        are required to expeditiously place class members in non-secure facilities
   13

   14   licensed for the care of dependent children. Settlement ,r 19.
   15         The evidence filed with this motion shows that the U.S. Department of
   16
        Health and Human Services' Office of Refugee Resettlement ("ORR"), which
   17

   18
        detains all unaccompanied minors commencing seventy-two hours after

   19   apprehension, has adopted policies and practices in violation of the Settlement
   20
        by detaining as many as 2,350 unaccompanied minors in an unlicensed and
   21
        secure military-style camp in Homestead, Florida ("Homestead"), while
   22

   23   routinely failing to expeditiously transfer minors to licensed facilities if not
   24   promptly released to sponsors. 1
   25

   26   1 Pursuant to Local Rule 7-3, Plaintiffs have met and conferred with Defendants
   27
        regarding this motion. Plaintiffs believe the issues raised are not within the

   28
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   1           Plaintiffs seek an Order requiring that Defendants release class members
   2
         or transfer them to a licensed facility within fourteen (14) days of placement in

        Homestead.
   4

   5    II.    STATEMENT OF FACTS
   6           In February 2018, ORR opened a mass detention facility for
   7
        unaccompanied minors in Homestead.2 Homestead is not licensed by the state of
   8

   9
        Florida and is therefore not regulated by state child welfare and foster care

   10    authorities. 3 Defendants plan to expand Homestead so it will detain as many as
   11
        3,200 class members. U.S. Dep't Health & Human Servs., Fact Sheet:
   12
         Unaccompanied Alien Children sheltered at Homestead Job Corps Site,
   13

   14

   15   current jurisdiction of the Special Master but nevertheless informed the Special
   16   Master and Defendants that Plaintiffs are prepared to have the Special Master
        serve as a mediator regarding the claims in this motion. On June 10, 2019, upon
   17   Stipulation [Doc. #552], the Court Ordered the Motion to Enforce be set for
        mediation with the Monitor. [Doc. #553]..
   18
        2 Homestead is operated by the for-profit corporation Comprehensive Health
   19   Services, Inc. ("CHS"). In February 2018, Defendants awarded CHS a $31 million
        contract to oversee the Homestead detention camp.In April 2019, Defendants
   20
        awarded CHS a no-bid contract worth more than $34 J million to expand
   21   Homestead. See Washington Post, Lawmakers ask watchdog to probe migrant teen
        camp ·s contract (May 14, 2019), available at https://www.apnews.com/.
   22   3 The federal government has granted Homestead a "waiver" allowing Homestead
   23   employees to bypass Florida's child abuse and neglect background check system,
        which would be a requirement of state-licensed facility
   24   employees. CBS News, Graham Kates (Jan. 11, 2019), Facihtyfor migrant
   25
        children extends offer letters on the 5,pot amid rapid expansion, available at
        https://www.cbsnews.com/news/homestead-florida-nations-
   26   largest-facility-for­migrant-chi1dren-extends-offer-letters-on-the-spot-amid-rapid-
        expansion/ (last checked May 28, 2019).
   27

   28                                             2
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          would not be subject to State or local licensing standards."8 Defendants use of
   2
          Homestead reveals the Government's intentional disregard
                                                              �    of the binding'--'

          provisions of the Settlement which do not permit unaccompanied minors to be
   4

   5      detained in unlicensed facilities merely because they are on Federal properties.

   6            According to ORR, during an influx it "may not have sufficient bed space
   7
          available within its licensed care provider network to place unaccompanied alien
   8

   9
          cl�ildren. In this situation, ORR arranges for Influx Care Facilities to meet the

   10     need." Id. Defendants deem bed space insufficient within its licensed care
   11
          provider network when 85% of the available beds are occupied by class
   12
          members.9 When that occurs, class members meeting certain criteria are
   13

   14     transferred to Homestead rather than a licensed facility. 1 ° For about half the cost

   15     of detaining minors at Homestead, Defendants could place minors in facilities
   16
          licensed for the care of dependent children.
   17

   18

   ·19.

   _Q
          8 See ORR Children Entering the United States Unaccompanied: Guide to
   2l     Terms, Section 1.7, available at https://www.acf.hhs.gov/orr/resource/children­
          entering-the-united-states-unaccompanied-section-l #1.7. (current as of May 19,
   22     2019).
          9 Ex. 9, Deposition of-_,                                              ( -
          Depo."), at 60:12-14.
   24     10 The ORR criteria for transfer to an Influx Facility include the minor being
   25     be1ween 13-17 years of age; speaks either English or Spanish; has no known
          behavioral or medical issues; has no known special needs; is not be a danger to
   26     self or others; does not have a criminal history; is not a perpetrator or victim of
   27
          smuggling or trafficking activities; is not part of a sibling group with a sibling(s)
          age 12 years or younger; and is not pregnant or parenting. Id. ,i 1.7.2.
   2)
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                There is "currently no[]" maximum amount of time ORR allows a child
   1


                Even when bed space does become available at an ORR licensed facility,
   4

   5      minors detained at Homestead are unlikely to be transferred from Homestead to

   6      a licensed facility with bed space. 11
   7
                At Homestead, children are housed in prison-like conditions and
   8

   9
          unnecessarily incarcerated for up to several months without being determined to

    10    be flight risks or a danger to themselves or others. Once detained at Homestead,
   lI
          the majority of class members are not expeditiously transferred to one of
    12
          Defendants' licensed facilities. See Ex. 5, N.E. Wang, Emergency Medicine and
   ]

    14    Pediatrics at Stanford, Stanford Human Rights in Trauma Mental Health

    ]5    Program, 2018 Individual Program Report: Homestead (April 11, 2019) ("NE
    16
          Wang Report") at 4, Transfer and Discharge. 12 Instead, class members remain at
    17

    18
          Homestead until they are eventually released to a sponsor, or are deported, or

          turn eighteen and "age out" and are transferred to an ICE detention facility for
   20
          deportation. Id.
   21

   2 ..

   __..
   ? -,   11 Ex. I 0, - Depa., at 57:2-4 ("When we were nmning on 85 to 90 percent
          capacity, there was nowhere to put the kids. The minute a child left [a licensed
   24     facility], the beds were taken" by minors not at Homestead).
   r
   _,     12 Defendants provide data to class counsel on a monthly basis, as required by
          the Settlement Agreement. In order to meaningfully analyze this data, pursuant
          to a confidentiality agreement, class counsel provided this data to Stanford
   27
          University researchers led by Dr. Nancy Ewen Wang. Ex. 1, Schey Dec. ,r 6. A
          copy of their analysis as to length of detention is filed herewith as Exhibit 5.
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         Defendants' detaining and treatment of unaccompanied minors in Homestead.
   2
         Ex. 7 cit 2. That harm can be avoided if the Government complies with the terms
   3
         of the Settlement and within fourteen days transfers minors to licensed facilities if
   4

   5     they cannot be released to a parent or sponsor.
   6     4.    Defendants have illegally delayed the release of minors at Homestead
   7           by sharing sponsors' immigration status with the Immigration and
               Customs Enforcement and arresting sponsors who sought the release
   8           of minors.
   9
               The Settlement provides that Defendants may conduct a "positive
   10
         suitability assessment ... prior to release to any individual or program pursuant
   11

   12                                  ,r
         to Paragraph 14." Settlement 1 7.40
   13
               Among the policies responsible for increasing the length of detention of
   14
         minors at Homestead is an ORR/ICE/CBP policy providing: "ORR will provide
   15

   16    ICE with the name, date of birth, address, fingerprints ...and any available

   17    identification documents or biographic information regarding the potential
   18
         sponsor and all adult members of the potential sponsor's household."41 This
   19
         policy was published as ORR Rule 2.5:
   20

   21
         40 A suitability assessment "may include such components as an investigation
   22
         of the living conditions in which the minor would be placed and the standard of
   23    care he would receive, verification of identity and employment of the individuals
         offering support, interviews of members of the household, and a home visit." Id.
   24    Any such assessment "should also take into consideration the wishes and
   25    concerns of the minor. " Id.
         41
            Memorandum of Agreement from the Office of Refugee Resettlement, U.S.
   26    Immigration and Customs Enforcement, and the U.S.Customs and Border
   27
         Protection (June 2018) ,available at: https://www.texasmonthly.com/wp­
         content/up1oads/2018/06/Read-the-Memo-of-Agreement. pdf.
   28                                             22
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         Homestead.47 This testimony is confirmed by the deposition testimony of
   2
         Homestead staff.'18
   3
                ORR also delays release by requiring that "[t]he potential sponsor or
   4

   5     child's family must provide the unaccompanied alien child's birth certificate or a

   6     legible copy of the child's birth certificate." ORR Rule 2.2.4 Proof of Child's
   7
         Identity. Paragraphs 15 and 17 of the Settlement Agreement set forth what is
   8
         required for release from custody, neither of which requires a sponsor to produce
   9

   10    a birth certificate for the minor in custody. 49
   11
                These broad and vague criteria, coupled with ORR's sharing of sponsor's
   12
         fingerprints with ICE, required attendance at a presentation with one of ORR's
   13

   14

   15              11
         47 Al Al is a fourteen-year-old native of Honduras who has been detained at
   16    Homestead since December 3, 2018. He declared "I talk with my social worker
         by a face call on a computer since she is not located here. I believe she is in
   17    Texas someplace. Many kids do not have social workers located here. It would
   18
         be easier if l could talk to my social worker in person. Sometimes, there are
         problems with the Internet and I have to cut my call short or not talk to her at all,
   19    and have to return another time. This has happened to me twice already."
         Declaration of Al Al I Ex. 61 � 5.
   20
         48 Ex. 10, -Depo., at 46:21-47:6, 48:6-7 ("Q: Have you ever been
   21    advised by caseworkers at Homestead that they simply have too many children
         to process or manage? A: Yes. Several times I have heard that, and they have
   22    written that .... [S]ome case managers and some lead case managers ... would
   23    voice that they felt ove1whelmed. ").
         49 ORR also requires that a minor's potential sponsor "attend a presentation
   24    with one of the LOPC [Legal Orientation Program for Custodians] providers
   25    around the country." ORR Rule 2.2.5. See also ORR Rule 2.4.1 (requires "the
         sponsor's attendance at a Legal Orientation Program for Custodians (LOPC)
   26    presentation.") Neither Paragraphs 15 nor 17 of the Settlement Agreement
   27
         require a sponsor to attend a Legal Orientation Program for Custodians
         scheduled at ORR's convenience.
   28                                               26
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   1           5. Grant Plaintiffs their reasonable fees and costs incurred in bringing this
   2
         motion to enforce.
   3
         Dated: June 14, 2019                    Respectfully submitted,
   4

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                                                 CONSTITUTIONAL LAW
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   27

   28                                            29
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1                                    CERTIFICATE OF SERVICE
2

3             I, Peter Schey, declare and say as follows:
4             I am over the age of eighteen years of age and am a party to this action. I am
5
        employed in the County of Los Angeles, State of California. My business address is
6

7
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.

8             On this date, June 14, 2019, I electronically filed the following document(s):
9
        CORRECTED POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT
10      AGREEMENT [REDACTED VERSION TO BE FILED UNDER SEAL]
11
        with the United States District Court, Central District of California by using the
12
        CM/ECF system. Participants in the case who are registered CM/ECF users will be
13

14      served by the CM/ECF system.

15

16

17                                                                 /s/Peter Schey
                                                                   Attorney for Plaintiffs
18

19

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                                                              CV 85-4544-DMG (AGRX)
